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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                                        :      CHAPTER 7
                                                 :
   WONDALYN SHANTE BAILEY,                       :      CASE NO. 20-62468-SMS
                                                 :
        Debtor.                                  :

                                      REPORT OF SALE
            COMES NOW S. Gregory Hays, the Chapter 7 Trustee in the above-captioned

   matter, and files this Report of Sale pursuant to Bankruptcy Rule 6004(f), and shows the

   Court as follows:

                                                1.

            On February 19, 2021, the Trustee sold real property of the estate known as 233

   Long Drive, McDonough GA 30253 (“Property”) to W.Y. International, LLC

   (“Purchaser”) for $180,000.00 as ordered and approved by the Court on February 9,

   2021 [Doc. No. 33].

                                                2.

            Attached hereto as Exhibit “A” is the Seller’s Settlement Statement from the sale.

   The Trustee reports that he has completed the delivery of the Property to the Purchaser

   and has received net funds of $45,929.41 from the sale.

            Respectfully submitted this 22nd day of February, 2021.

                                                            /s
                                                        S. Gregory Hays
   Hays Financial Consulting, LLC                       Chapter 7 Trustee
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
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                                  Exhibit “A”
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                                CERTIFICATE OF SERVICE

          I hereby certify that I am over the age of 18 and that on this day I served a copy of

   the foregoing REPORT OF SALE by first class U.S. Mail, with adequate postage prepaid

   on the following persons or entities at the addresses stated:

                  Office of the United States Trustee
                  362 Richard B. Russell Building
                  75 Ted Turner Drive, SW
                  Atlanta, GA 30303

                  Eric E. Thorstenberg
                  Deighan Law LLC
                  Suite 101
                  333 Sandy Springs Circle
                  Atlanta, GA 30328

                  Wondalyn Shante Bailey
                  P.O. Box 657
                  McDonough, GA 30253

   Dated: February 22, 2021.

                                                             /s
                                                         S. Gregory Hays
                                                         Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
